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                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,
                                                   Case No. 4:13-CR-283-BLW
                Plaintiff,

       v.                                          MEMORANDUM DECISION
                                                   AND ORDER
LINDA RAE WESTMORELAND, LLOYD
ELMO GALE, JOSE ROSARIO-JUAREZ,

                Defendants.


       Defendant Rosario-Juarez was arraigned on February 3, 2014, and his trial

was set for May 19, 2014, the same date his co-defendants were set for trial in their

earlier arraignments. But Rosario-Juarez’s speedy trial clock expires on April 14,

2014, and his custody clock expires on May 2, 2014. Accordingly, a trial date of

May 19, 2014, is proper only if a finding of excludable time under 18 U.S.C.

§ 3161(h) is made. See 18 U.S.C. § 3164 (b) (stating that excludable time under

§ 3161(h) applies to custody clock).

       Under 18 U.S.C. § 3161(h)(6), excludable time exists for “a reasonable period of

delay when the defendant is joined for trial with a co-defendant as to whom the time for

trial has not run and no motion for severance has been granted.” The speedy trial and

custody clocks will not have expired for defendant’s co-defendants by the date of trial.

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Moreover, the Court finds this to be a reasonable period of delay. Accordingly, the Court

finds excludable time under § 3161(h) and finds that the trial date of May 19, 2014,

properly applies to all defendants.

       NOW THEREFORE IT IS HEREBY ORDERED, that the trial date for defendant

Rosario-Juarez of May 19, 2014 complies with his speedy trial and custody rights as there

is excludable time under § 3161(h) as set forth above.


                                         DATED: February 18, 2014



                                         B. LYNN WINMILL
                                         Chief Judge
                                         United States District Court




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